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 1                                                CHIEF JUDGE RICARDO S. MARTINEZ
 2
 3
                                UNITED STATES DISTRICT COURT
 4
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE

 6
     UNITED STATES OF AMERICA,                   )   No. CR19-124RSM
 7                                               )
                       Plaintiff,                )
 8                                               )   ORDER GRANTING
                  v.                             )   UNOPPOSED MOTION TO PROCEED
 9                                               )   WITH SENTENCING HEARING BY
     MICHELLE RENEE HUGHES,                      )   VIDEO CONFERENCING
10                                               )
                       Defendant.                )
11                                               )
12          THE COURT has considered Michelle Hughes’s unopposed motion to proceed

13   with a sentencing hearing by video conferencing, along with all the records and files in

14   this case.

15          THE COURT FINDS that a video sentencing hearing should take place as soon

16   as practical because further delays in this case would cause “serious harm to the

17   interests of justice.” See General Order No. 04-20 (3/30/20).

18          THE COURT ORDERS that a sentencing hearing be scheduled by

19   videoconference on November 19, 2020.

20          DONE this 9th day of November 2020.

21
22
                                               A
                                               RICARDO S. MARTINEZ
23                                             CHIEF UNITED STATES DISTRICT
                                               JUDGE
24   Presented by:
25
     s/ Corey Endo
26   Assistant Federal Public Defender
     Attorney for Michelle Hughes
                                                                FEDERAL PUBLIC DEFENDER
       ORDER TO PROCEED WITH SENTENCING                            1601 Fifth Avenue, Suite 700
       HEARING BY VIDEOCONFERENCE                                    Seattle, Washington 98101
       (Michelle Hughes, CR19-124-RSM) - 1                                      (206) 553-1100
